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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK
_________________________________________
SECURITIES AND EXCHANGE                   §
COMMISSION,                               §
                                          §
            Plaintiff,                    §
                                          §      Civil Action No. CV 12-2033
     vs.                                  §      Weinstein, Jack B.
                                          §
GARTH RONALD PETERSON,                    §
                                          §
            Defendant.                    §
________________________________________ §

   MOTION SEEKING AUTHORITY TO WIND UP THE RECEIVERSHIP ESTATE

       Marion A. Hecht (“Receiver”), the duly appointed Receiver for Receivership Estate of

Garth R. Peterson, by and through her counsel, Whiteford, Taylor & Preston L.L.P., hereby

moves this Court for an order, in the form submitted concurrently herewith, approving and

authorizing certain actions in order to complete administration of the Receivership Estate.

       The relief requested in this Motion, and the bases therefore, are set forth in the

accompanying Memorandum, which is incorporated herein by reference as if fully set forth.

Dated: July 16, 2018                         Respectfully submitted,


                                             /s/ Brent Charles Strickland
                                             Brent Charles Strickland, Esquire, NY Bar No. BS7811
                                             Whiteford Taylor & Preston L.L.P.
                                             7501 Wisconsin Avenue
                                             Bethesda, Maryland 20814
                                             410.347.9402 Direct dial
                                             410.223.1302 Facsimile
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                                  Martin T. Fletcher, Esquire
                                  David Daneman, Esquire
                                  Whiteford Taylor & Preston L.L.P.
                                  Seven Saint Paul Street
                                  Baltimore, Maryland 21202
                                  410.347.8700 Main Telephone
                                  410.752.7092 Main Facsimile
                                  bstrickland@wtplaw.com
                                  mfletcher@wtplaw.com
                                  ddaneman@wtplaw.com

                                  Attorneys for Marion A. Hecht, Receiver




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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY on this 16th day of July, 2018, that a copy of the forgoing
 Motion Seeking Authority to Wind Up The Receivership Estate and Proposed Order was
 mailed via first class mail, postage prepaid, and/or electronic mail, to:

 Richard Hong                                    David Neuman
 Securities & Exchange Commission                Securities & Exchange Commission
 200 Vesey Street, Suite 400                     100 F Street, NE Mail Stop 4010-A
 New York, NY 10281                              Washington, DC 20549
 hongr@sec.gov                                   neumand@sec.gov

 Frank H. Wohl                                   Winston Paes
 Lankler Siffert & Wohl LLP                      United States Attorney’s Office
 500 Fifth Avenue, 33rd Floor                    Eastern District of New York
 New York, NY 10110                              271 Cadman Plaza East, 5th Floor
 fwohl@lswlaw.com                                Brooklyn, NY 11201
                                                 winston.paes@usdoj.gov

 Abigail Elizabeth Rosen                         Jason A. Jones
 Lankler Siffert & Wohl                          U.S. Department of Justice
 500 Fifth Avenue                                1400 New York Avenue, NW
 33rd Floor                                      (Bond Building)
 New York, NY 10110                              Washington, DC 20005
 arosen@lswlaw.com                               jason.jones5@usdoj.gov

 Garth R. Peterson at last known email
 addresses:
 garth.r.peterson@gmail.com
 R970351339@qq.com



                                            /s/ Brent Charles Strickland ___
                                           Brent Charles Strickland, Esquire
